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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF GEORGIA
                                   STATEBORO DIVISION


   UNITED STATES OF AMERICA,

   V.
                                                                     6: 12-cr-18
   RODNEY LORENZO SCOTT, aka
   "ROCKET G",

   and

   TERRANCE GERARD STANTON, aka
   "T-BONE,"

                Defendants.



                                                ORDER

         Before the Court is Rodney Lorenzo Scott's Motion for Severance of Trial. ECF No.

696. On July 1, 2013, the Court heard oral argument on Scott's motion. Scott was present at this

hearing.

         "It is well settled that defendants who are indicted together are usually tried together."

United States v. Browne, 505 F.3d 1229, 1268 (11th Cir. 2007). That "is particularly true in

conspiracy cases." Id. "Where, as here, [a] motion for severance is based on the defendant's

desire for a codefendant's testimony, the 'defendant must demonstrate. . . : (1) a bona fide need

for the codefendant's testimony; (2) the substance of the testimony; (3) the exculpatory nature

and effect of the testimony; (4) that the codefendant will actually testify."      United States v.

Valadez, 315 F. App'x 208, 212 (11th Cir. 2008) (citing United States v. Leavitt, 878 F.2d 1329,

1340 (11th Cir. 1989)).
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       The Court finds that Scott has failed to make the required showing. Scott states that the

testimony of his codefendant would be exculpatory to Scott. But he can do no more than

speculate as to the substance of that testimony because, critically, he admits that he has no idea

whether his codefendant will actually testify. The Court also notes that Scott filed his motion

roughly six weeks after the motions hearing. Because the Court is left to speculate as the content

of any testimony of the codefendant, however, it would have no grounds to grant Scott's motion

even if it had been timely.

       Accordingly, Scott's motion to sever, ECF No. 696, is DENIED.


                                              The          of July, 2013

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                                              B. AVANT EDENFIELD, JUDGE f
                                              UNITED STATES DISTRICT coyki
                                              SOUTHERN DISTRICT OF GEQkGIA
